Case 3:11-cv-02559-PGS-LHG Document 12 Filed 10/06/11 Page 1 of 16 PageID: 61



File No. 15108-0002-JBD
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Attorneys for Defendant(s), City of Trenton, Detective Pedro Perez, Police Officer Miguel A. Acosta,
Police Officer Daryl D. Berry, Detective Noel Santiago, Detective Tara Stefano, Sergeant Kolodziej and
Detective S. Johnson

                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

                                                 HONORABLE PETER G. SHERIDAN
MELVIN RIVERA, EDISON SOTO,
EDNA RIVERA, CARLOS RIVERA,                      CIVIL ACTION NO. 3:11-cv-02559–PGS-LHG
MELISSA CORTES AND MCF (a minor)
and MCM (a minor), TANYA ACEVEDO
and TAM ( a minor), GRICEL RIVERA
and GRM (a minor), and DENISE
BERRIOS and DBF (a minor),                       ANSWER, JURY DEMAND, DESIGNATION
                                                         OF TRIAL COUNSEL
        Plaintiff(s),
v.

CITY OF TRENTON, DETECTIVE
PEDRO PEREZ, POLICE OFFICE
MIGUEL A. ACOSTA, POLICE OFFICE
DARYL D. BERRY, DETECTIVE NOEL
SANTIAGO, DETECTIVE TARA
STEFANO, SERGEANT KOLOLDZIEJ,
DETECTIVE S. JOHNSON, IRVING
BRADLEY, JR., DOUGLAS H.
PALMER, and John Doe, a POLICE
OFFICER for the CITY OF TRENTON,

        Defendant(s).


           Defendants, Detective Pedro Perez, Police Officer Miguel A. Acosta, Police Officer

     Daryl D. Berry, Detective Noel Santiago, Detective Tara Stefano, Sergeant Kolodziej and

          Detective S. Johnson, by way of answer to the Complaint filed herein, say that:
Case 3:11-cv-02559-PGS-LHG Document 12 Filed 10/06/11 Page 2 of 16 PageID: 62




                            NATURE OF ACTION AND JURISDICTION


          1.           The allegations contained in this paragraph of the Complaint state a legal

conclusion, and, therefore, no response is required.


          2.           The allegations contained in this paragraph of the Complaint state a legal

conclusion, and, therefore, no response is required.


          3.           The allegations contained in this paragraph of the Complaint state a legal

conclusion, and, therefore, no response is required.


          4.           The allegations contained in this paragraph of the Complaint state a legal

conclusion, and, therefore, no response is required.


                                                PARTIES


                                               PLAINTIFF


          5.           Answering defendants are without sufficient knowledge to admit or deny

allegations contained in this paragraph of the Complaint, and, therefore, leave plaintiffs to their

proofs.


          6.           Answering defendants are without sufficient knowledge to admit or deny

allegations contained in this paragraph of the Complaint, and, therefore, leave plaintiffs to their

proofs.


          7.           Answering defendants are without sufficient knowledge to admit or deny

allegations contained in this paragraph of the Complaint, and, therefore, leave plaintiffs to their

proofs.


                                                  2
Case 3:11-cv-02559-PGS-LHG Document 12 Filed 10/06/11 Page 3 of 16 PageID: 63




          8.           Answering defendants are without sufficient knowledge to admit or deny

allegations contained in this paragraph of the Complaint, and, therefore, leave plaintiffs to their

proofs.


          9.           Answering defendants are without sufficient knowledge to admit or deny

allegations contained in this paragraph of the Complaint, and, therefore, leave plaintiffs to their

proofs.


          10.          Answering defendants are without sufficient knowledge to admit or deny

allegations contained in this paragraph of the Complaint, and, therefore, leave plaintiffs to their

proofs.


          11.          Answering defendants are without sufficient knowledge to admit or deny

allegations contained in this paragraph of the Complaint, and, therefore, leave plaintiffs to their

proofs.


          12.          Answering defendants are without sufficient knowledge to admit or deny

allegations contained in this paragraph of the Complaint, and, therefore, leave plaintiffs to their

proofs.


          13.          Answering defendants are without sufficient knowledge to admit or deny

allegations contained in this paragraph of the Complaint, and, therefore, leave plaintiffs to their

proofs.


          14.          Answering defendants are without sufficient knowledge to admit or deny

allegations contained in this paragraph of the Complaint, and, therefore, leave plaintiffs to their

proofs.


                                                  3
Case 3:11-cv-02559-PGS-LHG Document 12 Filed 10/06/11 Page 4 of 16 PageID: 64




          15.          Answering defendants are without sufficient knowledge to admit or deny

allegations contained in this paragraph of the Complaint, and, therefore, leave plaintiffs to their

proofs.


          16.          Answering defendants are without sufficient knowledge to admit or deny

allegations contained in this paragraph of the Complaint, and, therefore, leave plaintiffs to their

proofs.


          17.          Answering defendants are without sufficient knowledge to admit or deny

allegations contained in this paragraph of the Complaint, and, therefore, leave plaintiffs to their

proofs.


                                             DEFENDANTS


          18.          It is admitted that the City of Trenton is a political subdivision of the State

of New Jersey; the remaining allegations of this paragraph of the Complaint are denied.


          19.          It is admitted that Detective Pedro Perez was at all times relevant to this

lawsuit a police detective with the Trenton Police Department; the remaining allegations of this

paragraph of this Complaint are denied.


          20.          It is admitted that Officer Acosta was at all times relevant to this lawsuit a

police officer with the Trenton Police Department; the remaining allegations of this paragraph of

this Complaint are denied.


          21.          It is admitted that Officer Berry was at all times relevant to this lawsuit a

police officer with the Trenton Police Department; the remaining allegations contained in this




                                                  4
Case 3:11-cv-02559-PGS-LHG Document 12 Filed 10/06/11 Page 5 of 16 PageID: 65




paragraph of the Complaint are denied.


       22.            It is admitted that Detective Noel Santiago was at all times relevant to this

lawsuit a detective with the Trenton Police Department; the remaining allegations contained in

this paragraph of the Complaint are denied.


       23.            It is admitted that Detective Stefano was at all times relevant to this

lawsuit a detective with the Trenton Police Department; the remaining allegations contained in

this paragraph of the Complaint are denied.


       24.            It is admitted that Sergeant Kolodziej was at all times relevant to this

lawsuit a police officer with the Trenton Police Department; the remaining allegations contained

in this paragraph of the Complaint are denied.


       25.            It is admitted that Detective Johnson was at all times relevant to this

lawsuit a detective with the Trenton Police Department; the remaining allegations contained in

this paragraph of the Complaint are denied.


       26.            It is admitted that Irving Bradley, Jr. was at all times relevant to this

lawsuit the Director of the Trenton Police Department; the remaining allegations contained in

this paragraph of this Complaint are denied.


       27.            It is admitted that Douglas H. Palmer was at all time relevant to this

lawsuit the Mayor of the City of Trenton; the remaining allegations contained in this paragraph

of this Complaint are denied.


                                                 FACTS




                                                 5
Case 3:11-cv-02559-PGS-LHG Document 12 Filed 10/06/11 Page 6 of 16 PageID: 66




        28.            Denied.


        29.            Defendants do not have sufficient information from which to admit or

deny the allegations contained in this paragraph of the Complaint, and, therefore, leave plaintiffs

to their proofs.


        30.            Defendants do not have sufficient information from which to admit or

deny the allegations contained in this paragraph of the Complaint, and, therefore, leave plaintiffs

to their proofs.


        31.            Denied.


        32.            Denied.


        33.            Denied.


        34.            Denied.


        35.            Denied.


        36.            Denied.


        37.            Denied.


        38.            Denied.


        39.            Denied.


        40.            Denied.


        41.            Denied.


                                                 6
Case 3:11-cv-02559-PGS-LHG Document 12 Filed 10/06/11 Page 7 of 16 PageID: 67




      42.         Denied.


      43.         Denied.


      44.         Denied.


      45.         Denied.


      46.         Denied.


      47.         Denied.


      48.         Denied.


      49.         Denied.


      50.         Denied.


      51.         Denied.


      52.         Denied.


      53.         Denied.


      54.         Denied.


      55.         Denied.


      56.         Denied.


      57.         Denied.


      58.         Denied.


                                      7
Case 3:11-cv-02559-PGS-LHG Document 12 Filed 10/06/11 Page 8 of 16 PageID: 68




        59.            Denied.


        60.            Denied.


        61.            Denied.


        62.            Denied.


        63.            Denied.


        64.            Defendants do not have sufficient information from which to admit or

deny the allegations contained in this paragraph of the Complaint, and, therefore, leave plaintiffs

to their proofs.


        65.            Denied.


        66.            Denied.


        67.            Denied.


        68.            Denied.


        69.            Denied.


        70.            Denied.


        71.            Denied.


        72.            Denied.


        73.            Defendants do not have sufficient information from which to admit or




                                                 8
Case 3:11-cv-02559-PGS-LHG Document 12 Filed 10/06/11 Page 9 of 16 PageID: 69




deny the allegations contained in this paragraph of the Complaint, and, therefore, leave plaintiffs

to their proofs.


        74.            Denied.


        75.            Denied.


        76.            Denied.


        77.            Denied.


        78.            Denied.


        79.            Denied.


                                              COUNT ONE


        79.            Answering defendants repeat and reassert the responses to the preceding

paragraphs as set forth herein.


        80.            Denied.


        81.            Denied.


        82.            Denied.


        83.            Denied.


        84.            Denied.




                                                 9
Case 3:11-cv-02559-PGS-LHG Document 12 Filed 10/06/11 Page 10 of 16 PageID: 70




                                             COUNT TWO


        85.             Answering defendants repeat and reassert the responses to the preceding

 paragraphs as set forth herein.


        86.             Denied.


                                            COUNT THREE


        87.             Answering defendants repeat and reassert the responses to the preceding

 paragraphs as set forth herein.


        88.             Denied.


        89.             Denied.


        90.             Denied.


        91.             Denied.


                                             COUNT FOUR


        92.             Answering defendants repeat and reassert the responses to the preceding

 paragraphs as set forth herein.


        93.             Denied.


        94.             Denied.


        95.             Denied.




                                                10
Case 3:11-cv-02559-PGS-LHG Document 12 Filed 10/06/11 Page 11 of 16 PageID: 71




                                           PRAYER FOR RELIEF


                 A – E.          Denied.


                                  DESIGNATION OF TRIAL COUNSEL


                          Please take notice the J. Brooks DiDonato, Esquire is herewith designated

 as trial counsel.


                          These answering defendants demand a trial by jury


                                   FIRST SEPARATE DEFENSE

                          The Complaint fails to state a claim upon which relief can be granted

 against answering defendants.

                                 SECOND SEPARATE DEFENSE

                          The Complaint is barred by the provisions of the New Jersey Tort Claims

 Act, N.J.S.A. 59:1-1, et seq.

                                   THIRD SEPARATE DEFENSE

                 Answering defendants breached no duty owed to the plaintiffs.

                                 FOURTH SEPARATE DEFENSE

                 Answering defendants were free from any breach of duty owed to the plaintiffs.

                                   FIFTH SEPARATE DEFENSE

                 Any injury or damages sustained by the plaintiffs were caused through the sole

 fault, negligence, carelessness or recklessness of the plaintiffs herein.




                                                  11
Case 3:11-cv-02559-PGS-LHG Document 12 Filed 10/06/11 Page 12 of 16 PageID: 72




                                 SIXTH SEPARATE DEFENSE

                Any injuries or damages sustained by the plaintiffs were caused through the sole

 negligence of a third party or parties over whom answering defendants exercise no control.

                               SEVENTH SEPARATE DEFENSE

                Any liability which might otherwise be imposed upon defendants must be reduced

 by the application of the standard of comparative negligence mandated by N.J.S.A. 59:9-4.

                                EIGHTH SEPARATE DEFENSE

                Answering defendants are immune from liability pursuant to the provisions of

 N.J.S.A. 59:2-1.

                                 NINTH SEPARATE DEFENSE

                Answering defendants are not liable to the plaintiffs in that there is no liability

 upon any public entity pursuant to the provisions of N.J.S.A. 59:2-2(b).

                                 TENTH SEPARATE DEFENSE

                Any action or failure to act on part of the answering defendants is in the nature of

 a discretionary activity within the meaning of N.J.S.A. 59:2-3, and, as such, no liability may be

 imposed upon defendants.

                              ELEVENTH SEPARATE DEFENSE

                This claim is barred by the provisions of N.J.S.A. 59:2-3(b) to the extent that it

 charges legislative and administrative action or inaction.

                               TWELFTH SEPARATE DEFENSE

                Answering defendants are immune from liability pursuant to the provisions of

 N.J.S.A. 59:3-2.




                                                  12
Case 3:11-cv-02559-PGS-LHG Document 12 Filed 10/06/11 Page 13 of 16 PageID: 73




                             THIRTEENTH SEPARATE DEFENSE

                Plaintiffs failed to file a Notice of Claim within the time required by N.J.S.A.

 59:8-8 or to move, within one year from the accrual of the cause of action, for an Order

 permitting the filing of a late Notice of Claim, pursuant to N.J.S.A. 59:8-9.

                            FOURTEENTH SEPARATE DEFENSE

                The claims that plaintiffs may be barred pursuant to the provisions of N.J.S.A.

 59:9-2(d) in that they have not suffered the requisite medical expense nor permanent loss of a

 bodily function or permanent disfigurement or dismemberment required under that subsection of

 the statute.

                              FIFTEENTH SEPARATE DEFENSE

                Any recovery to which plaintiffs might otherwise be entitled is subject to

 reduction in accordance with the limitation of damages provided in N.J.S.A. 59:9-2.

                              SIXTEENTH SEPARATE DEFENSE

                The negligence of plaintiffs is greater than that of the negligence, if any, by

 defendants, and they are, therefore barred from recovery pursuant to the provisions of N.J.S.A.

 59:9-4.

                            SEVENTEENTH SEPARATE DEFENSE

                Negligence, if any, on the part of the answering defendants is not the proximate

 cause of any damages or injuries which may have been sustained by the plaintiffs.

                             EIGHTEENTH SEPARATE DEFENSE

                Answering defendants liability and duty of contribution as a joint tortfeasor,

 jointly and severally liable with any other tortfeasors of the plaintiff extends only to the damages

 provided pursuant to N.J.S.A. 59:9-3.




                                                  13
Case 3:11-cv-02559-PGS-LHG Document 12 Filed 10/06/11 Page 14 of 16 PageID: 74




                                NINETEENTH SEPARATE DEFENSE

                Plaintiffs claims as set forth in the Complaint should be dismissed by this Court

 for lack of subject matter jurisdiction.

                                TWENTIETH SEPARATE DEFENSE

                Plaintiffs’ Complaint must be dismissed because at all times relevant to the

 allegations contained therein answering defendants acted properly within the scope of their

 duties and responsibilities.

                            TWENTY-FIRST SEPARATE DEFENSE

                Answering defendants herein at all times acted in accordance with and pursuant to

 the Constitutions of both the United States of America and the State of New Jersey.

                          TWENTY-SECOND SEPARATE DEFENSE

                Answering defendants are accorded absolute and qualified immunity for the acts

 alleged.

                            TWENTY-THIRD SEPARATE DEFENSE

                Answering defendants did not know, and could not reasonably be expected to

 know, that any actions taken by them with respect to plaintiffs were in violation of plaintiffs’

 rights, and, accordingly, answering defendants are immune from the imposition of monetary

 damages.

                          TWENTY-FOURTH SEPARATE DEFENSE

                This action is subject to the limitations of N.J.S.A. 59:9-2(c), which bars

 judgments against public entities for punitive or exemplary damages.

                            TWENTY-FIFTH SEPARATE DEFENSE




                                                  14
Case 3:11-cv-02559-PGS-LHG Document 12 Filed 10/06/11 Page 15 of 16 PageID: 75




                Plaintiffs have failed to exhaust their administrative remedies, and, therefore, are

 barred from any recovery against answering defendants in this Court.

                           TWENTY-SIXTH SEPARATE DEFENSE

                Plaintiffs have not been deprived of any rights guaranteed under the Constitutions

 and/or laws of the United States of America or the State of New Jersey as the result of any

 alleged act or omission by the answering defendants.

                         TWENTY-SEVENTH SEPARATE DEFENSE

                Answering defendants plead the defense of municipal immunity.

                          TWENTY-EIGHTH SEPARATE DEFENSE

                At all time relevant to the events alleged in plaintiffs’ Complaint, answering

 defendants acted in good faith and appropriately under the law.

                           TWENTY-NINTH SEPARATE DEFENSE

                Plaintiffs claims lack merit, are frivolous in nature and should be stricken, and, as

 such, answering defendants are entitled to damages under the Federal Rules of Civil Procedure,

 the New Jersey State Rules of Civil Procedure and the New Jersey Frivolous Lawsuit Act.

                              THIRTIETH SEPARATE DEFENSE

                Plaintiffs claims are time barred as the applicable Statute of Limitations have

 already run.

                               THIRTY-FIRST SEPARATE DEFENSE

                Answering defendants reserve the right to interpose such other separate and/or

 affirmative defenses as continuing investigation and discovery may disclose.

                            DESIGNATION OF TRIAL COUNSEL

        Please take notice that J. Brooks DiDonato is herewith designated as trial counsel.




                                                 15
Case 3:11-cv-02559-PGS-LHG Document 12 Filed 10/06/11 Page 16 of 16 PageID: 76




                                      JURY DEMAND

       This answering defendant demands a trial by jury.


                                           BY:_ S/J. BROOKS DIDONATO_____________
                                                 J. BROOKS DIDONATO
                                                 Attorney for Defendant(s), City of Trenton, Detective
                                                   Pedro Perez, Police Officer Miguel A. Acosta, Police
                                                   Officer Daryl D. Berry, Detective Noel Santiago,
                                                   Detective Tara Stefano, Sergeant Kolodziej and
                                                   Detective S. Johnson

 Dated: October 6, 2011




                                              16
